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SEALED                          UNITED STATES DISTRICT COURT
                                                                                   FILED
                                 WESTERN DISTRICT OF TEXAS                            OCT 03
                                                                                               2018
                                    SAN ANTONIO DIVISION                      CLERç   U.S
                                                                             WE
 UNITED STATES OF AMERICA,                              INDICTMENT
                        Plaintiff,                      COUNT    1:
                                                        18U.S.C. § 554 & 371 Conspiracy to Smuggle
  V.

                                                       goods from the United States
 ERNESTO GUTIERREZ-MARTINEZ (1),
                                                       COUNT 2:
                                                        18 U.S.C. § 924(c)(1)(A) and 924(o) Conspiracy
                                                       to Possess a Firearm in relation to a Drug
                                                       Trafficking Crime
                       Defendants.


 THE GRAND JURY CHARGES:

                                           COUNT ONE
                                     [18 U.S.C. § 554 & 3711
                                                                        I.i
        That from on or about January, 2017, and continuing until on or about May 22,
                                                                                      2018, in
the Western District of Texas and elsewhere, the Defendants,

                            ERNESTO GUTIERREZ-MARTINEZ (1), and


did knowingly and willfully combine, conspire, confederate and agree with each
                                                                               other and with
others known and unknown to receive, conceal, buy, sell, and facilitate the
                                                                            transportation,
concealment, and sale of merchandise, articles, and goods, knowing the goods were intended
                                                                                           for
exportation contrary to the laws and regulations of the United States; in violation of
                                                                                       Title 18,
United States Code, Section   554.


                                         OVERT ACTS
       In furtherance of the conspiracy and to effect the purposes and objects thereof,
                                                                                        numerous
overt acts were committed by the defendants and others in the Western District of
                                                                                  Texas and
elsewhere. These acts include but are not limited to the following:

   (1) On or about May 5, 2018, defendant ERNESTO GUTIERREZ-MARTINEZ
                                                                     (1) entered
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        into negotiations with an undercover police officer for the purchase of a Barret Arms .50

        caliber semiautomatic rifle.;

    (2) On or about May 6, 2018, defendant ERNESTO GUTIERREZ-MARTINEZ (1) sent

                                                              a copy of his text messages with the

        undercover agent.;

    (3) On or about May 6, 2018, defendant

        communicated to defendant ERNESTO GUTIERREZ-MARTINEZ (1) that "the guy"

       keeps bothering him about the purchase of the Barrett rifles and;

   (4) On or about May 20, 2018, defendant ERNESTO GUTIERREZ-MARTINEZ (1)
                                                                          asked
       the undercover agent for a photo of the Barrett rifle. When the agent sent a photo of a Barrett

       .50 caliber rifle to him, ERNESTO GUTIERREZ-MARTINEZ (1) forwarded the SMS

       message to                                                       and;

   (5) On or about May 22, 2018, defendants ERNESTO GUTIERREZ-MARTINEZ (1) met

       with undercover agents for the purpose of buying two Barrett .50 caliber rifles.

All in violation Title 18, United States Code, Sections 371 and 554.

                                          COUNT TWO
                               [18 U.S.C. § 924(c)(1)(A) & 924(o)]

       That from on or about January, 2017, and continuing until on or about May 22, 2018, in

the Western District of Texas and elsewhere, the Defendants,

                             ERNESTO GUTIERREZ-MARTINEZ (1), and


did knowingly and willfully combine, conspire, confederate and agree with each other and with

others known and unknown to the grand jury to possess a firearm in relation to a drug trafficking

offense, in that they knowingly and intentionally conspired to purchase, smuggle, and deliver

firearms to a drug trafficking organization that was involved in the commission of offenses


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 punishable under the Controlled Substances Act (21 U.S.C. 801 et seq.) and the Controlled

 Substances Import and Export Act (21 U.S.C. 951 et seq.), in violation of Title 18, United States

 Code, Section 924(o).

                                          OVERT ACTS

        In furtherance of the conspiracy and to effect the purposes and objects thereof,
                                                                                         numerous
 overt acts were committed by the defendants and others in the Western District of Texas
                                                                                         and
elsewhere. These acts include but are not limited to the following:

   (6) All of the overt acts as alleged in Count One of this indictment, above;

   (7) On or about February 20, 2018, defendants ERNESTO GUTIERREZ-MARTINEZ
                                                                            (1)
      and                                                      discussed a newspaper article about

      a conflict between factions of a drug trafficking organization in Mexico. The defendants

      discussed how the firearms they previously provided to the drug trafficking organization

      should be used in the conflict;

  (8) On or about May 5, 2018, defendant

      sent ERNESTO GUTIERREZ-MARTINEZ (1) a copy of his messages he received about

      the purchase of two items;

  (9) On or about May 6, 2018, defendant

      communicated to defendant ERNESTO GUTIERREZ-MARTINEZ (1) that "the guy"

     keeps bothering him about the purchase of the Barrett rifles and;

  (10) On or about May 16, 2018, defendant ERNESTO GUTIERREZ-MARTINEZ (1) sent

     multiple photos of bulk quantities of .50 caliber ammunition and .50 caliber magazines to

     defendant                                                           who responded to those

     photos by saying that he had sent them.




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       All in violation Title 18, United States Code, Sections 924(c)(1)(A) and 924(o).

                                                        A TRUE BILL.



                                                        FOREPERSON OF GRAND JURY


          JOHN F. BASH
          United States Attorney


 By:

          Assistant United       s Atto
